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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION
DIAMOND RESORTS U.S.
COLLECTION DEVELOPMENT, LLC
and DIAMOND RESORTS HAWAII
COLLECTION DEVELOPMENT, LLC,

                      Plaintiffs,

v.                                                              Case No: 6:21-cv-973-RBD-DCI

PRIMO MANAGEMENT GROUP, INC.
and ISRAEL SANCHEZ, JR.,

                      Defendants.


                                             ORDER
       This cause comes before the Court for consideration without oral argument on the

following motion:

       MOTION:        Plaintiffs’ Motion to Strike Defendants’ Affirmative Defenses
                      (Doc. 16)

       FILED:         August 10, 2021



       THEREON it is ORDERED that the motion is GRANTED in part and
       DENIED in part.

      I.      Background

       Plaintiffs filed a motion seeking to strike eighteen out of the twenty affirmative defenses

asserted by Defendants in the answer. Doc. 16 (the Motion). In Defendants’ response to the

Motion, they opposed some of Plaintiffs’ arguments but conceded that the entirety of some

defenses and parts of other defenses are insufficient and due to be stricken. Doc. 18.
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       II.     Standard

       Federal Rule of Civil Procedure 8(b) provides that when a party responds to a pleading, it

must “state in short and plain terms its defenses to each claim asserted against it.” Fed. R. Civ. P.

8(b). Rule 8(c) requires a party to “affirmatively state any avoidance or affirmative defense.”

“The purpose of Rule 8(c) is simply to guarantee that the opposing party has notice of any

additional issue that may be raised at trial so that he or she is prepared to properly litigate it.”

Hassan v. U.S. Postal Service, 842 F.2d 260, 263 (11th Cir. 1988) (citation omitted).

       Pursuant to Federal Rule of Civil Procedure 12(f), “[t]he court may strike from a pleading

an insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.” A motion

to strike should only be granted if “the matter sought to be omitted has no possible relationship to

the controversy, may confuse the issues, or otherwise prejudice a party.” Reyher v. Trans World

Airlines, Inc., 881 F. Supp. 574, 576 (M.D. Fla. 1995) (citations omitted).

       Although “an affirmative defense may be stricken if it is legally insufficient, . . . striking a

defense is a drastic remedy, which is disfavored by the courts.” Adams v. JP Morgan Chase Bank,

N.A., No. 3:11-cv-337-J-37MCR, 2011 WL 2938467, at *1 (M.D. Fla. July 21, 2011) (citations

and internal quotation marks omitted); see also Somerset Pharm., Inc. v. Kimball, 168 F.R.D. 69,

71 (M.D. Fla. 1996) (stating that motions to strike are not favored and are often considered time

wasters). “‘An affirmative defense is insufficient as a matter of law only if: (1) on the face of the

pleadings, it is patently frivolous, or (2) it is clearly invalid as a matter of law.’” Adams, 2011 WL

2938467, at *1 (M.D. Fla. 2011) (citation omitted). “Moreover, ‘[a]n affirmative defense will be

held insufficient as a matter of law only if it appears that the Defendant cannot succeed under any

set of facts which it could prove.’” Id. (citation omitted).




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       Courts are split regarding whether the pleading standard set forth in the Supreme Court

cases of Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555-56 (2007) and Ashcroft v. Iqbal, 556

U.S. 662, 677-79 (2009) applies to affirmative defenses. However, the Court agrees with the line

of cases holding that the heightened pleading standard set forth in Twombly and Iqbal does not

apply to affirmative defenses. See e.g., Lawton-Davis v. State Farm Mut. Auto. Ins. Co., No. 6:14-

cv-1157-Orl-37GJK, 2015 WL 12839263, at *1 (M.D. Fla. Aug. 18, 2015); Gonzalez v. Midland

Credit Mgmt., Inc., No. 6:13-cv-1576-Orl-37TBS, 2013 WL 5970721, at *2-3 (M.D. Fla. Nov. 8,

2013); Adams, 2011 WL 2938467, at *2-4 (M.D. Fla. 2011).

       III.    Discussion

       Plaintiffs argue that each of the alleged insufficient affirmative defenses suffer from one

or more of the following deficiencies: (1) they are actually denials, not defenses; (2) they are

insufficiently pled conclusory statements; or (3) they are legally insufficient. Defendants concede

that the entirety of the second, fourth, and twelfth affirmative defenses are insufficient and due to

be stricken. Further, Defendants concede that portions of the eleventh, fifteenth, and sixteenth

affirmative defenses are due to be stricken.

       As an initial matter, many of Plaintiffs’ arguments can be readily disposed of. Plaintiffs

argue that many of the affirmative defenses are due to be stricken because they are denials in

disguise.1 Even assuming this were true, the Court would construe these as denials instead of

striking them. See Premium Leisure, LLC v. Gulf Coast Spa Mfrs., Inc., 2008 WL 3927265, at *3

(M.D. Fla. Aug. 21, 2008) (declining to strike the defendant’s defense and instead treating it as a




1
  Plaintiffs attack the third, seventh, eighth, fourteenth, and seventeenth affirmative defenses on
this basis.



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denial) (citing Home Mgmt., Sols., Inc. v. Prescient, Inc., 2007 WL 2412834, at *3 (S.D. Fla. Aug.

21, 2007)).

        Additionally, Plaintiffs argue that some affirmative defenses must be stricken because the

defense of unclean hands is legally inapplicable.2 Whatever the merits of Plaintiffs’ statement of

the law, it misses the mark simply because Defendants have not asserted unclean hands as a

defense, either explicitly or implicitly. Indeed, Defendants assert in their response to the Motion

that they have not asserted an unclean hands defense.

        Further, throughout the Motion, Plaintiffs make arguments that would require the Court to

resolve factual disputes; this is not proper in a motion to strike affirmative defenses.3 See

Muschong v. Millenium Physician Group, LLC, No. 2:13-cv-705-FtM-38CM, 2014 WL 3341142,

at *2 (M.D. Fla. Jul. 8, 2014). The Court will not—and moreover, cannot—strike any defenses

that depend on the resolution of factual issues. See id. Indeed, Plaintiffs attack some defenses—

the ninth and the thirteenth in particular—because these defenses are purportedly contradicted by

allegations in the Complaint, without recognizing that Defendants have denied those very

allegations.4 See, e.g., Doc. 16 at 18–19; compare Doc. 1 ¶ 72–76 with Doc. 11 ¶ 72–76.




2
 Plaintiffs attack the seventh and tenth affirmative defenses on this basis. Although it is unclear,
Plaintiffs also appear to attack the sixth and fourteenth affirmative defenses on this basis.
3
 Plaintiffs attack the first, second, fifth, sixth, ninth, thirteenth, and fifteenth affirmative defenses
on this basis.
4
  This is a common theme in the Motion. In many places, it appears that Plaintiffs are utilizing the
Motion as a proxy to advance arguments on the merits before it is the appropriate time to do so.
This utilization only reinforces this motion’s reputation in the courts as a time waster. See
Somerset Pharm., Inc., 168 F.R.D. 69, 71 (M.D. Fla. 1996); see also Local Access, LLC v. Peerless
Network, Inc., No. 6:17-cv-236-Orl-40TBS, 2018 WL 3067908, at *2 (M.D. Fla. May 21, 2018)
(citing Davis v. Elite Mortg. Servs., Inc., 592 F. Supp. 2d 1052, 1058 (N.D. Ill. 2009) (“Motions
to strike affirmative defenses are generally disfavored in this circuit because often times they are
employed for the sole purpose of causing delay.”)).



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        Plaintiffs also appear to argue that some affirmative defenses are deficient because they are

inconsistent with other affirmative defenses.5 But under Rule 8(d)(3), a party may “state as many

separate . . . defenses as it has, regardless of consistency.” To the extent Plaintiffs are arguing that

inconsistent affirmative defenses are denials per se, the Court has already stated it will not strike

any such defenses and will instead construe them as denials.

        Finally, Plaintiffs argue—throughout the Motion, and often in a conclusory manner—that

many affirmative defenses fail to comply with the requirements of Rule 8(c). But Rule 8(c) only

requires that an affirmative defense give “notice of any additional issue that may be raised at trial.”6

Hassan, 842 F.2d 260, 263 (11th Cir. 1988) (citation omitted). Further, and critically, for most of

the defenses Plaintiffs do not argue that the defenses have “no possible relationship to the

controversy, may confuse the issues, or otherwise prejudice a party.”7 Reyher, 881 F. Supp. 574,

576 (M.D. Fla. 1995).

        Accordingly, the Court will not strike any affirmative defenses on the preceding bases.

Having separated the wheat from the chaff, the Court turns to the remaining arguments.

        A. FDUTPA

        Plaintiffs argue that the eleventh affirmative defense is due to be stricken because it is

legally inapplicable. Defendants have conceded that the portion of the eleventh defense that



5
 Plaintiffs apparently attack the fifth, sixth, eighth, and fourteenth affirmative defenses on this
basis.
6
  Plaintiffs do argue (perfunctorily) that the fifteenth and sixteenth affirmative defenses, and
otherwise an unspecified “number of affirmative defenses,” do not provide fair notice of the
grounds upon which they rest. The Court finds these perfunctory arguments to be unhelpful and
unpersuasive.
7
 Plaintiffs do make some perfunctory arguments that the first, sixth, and fourteenth affirmative
defenses are not related to the claims against which they are asserted. These bare assertions—
untethered to specific legal authority—are not persuasive to the Court.



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addresses “Defendants’ conduct . . . directed at non-Florida residents” is due to be stricken.

However, Defendants maintain that the portion of the eleventh defense that addresses “Defendants’

conduct occurring outside of Florida” is proper. Only this latter portion is at issue.

        Conduct must have occurred within the state of Florida for the Florida Deceptive and

Unfair Trade Practices Act (FDUTPA) to apply. See Carnival Corp. v. Rolls-Royce PLC, 2009

WL 3861450, at *6 (S.D. Fla. Nov. 17, 2009) (“FDUTPA applies only to action that occurred

within the state of Florida.”) (citing Millenium Communications & Fulfillment, Inc. v. Office of

Attorney General, 761 So.2d 1256, 1262 (Fla. 3d DCA 2000)); see also Five for Entertainment

S.A. v. Rodriguez, 877 F.Supp.2d 1321, 1330 (S.D. Fla. Jul. 9, 2012) (same). In support of their

argument, Plaintiffs cite Barnext Offshore, which adds that conduct does not have to exclusively

occur within Florida for FDUTPA to apply. See Barnext Offshore, Ltd. v. Ferretti Group USA,

Inc., 2012 WL 1570057, at *6 (S.D. Fla. May 2, 2012) (“[T]he Court finds nothing in Millenium

suggest[ing] that the FDUTPA applies only when conduct occurs entirely within Florida.”)

(emphasis original); see also Eli Lilly and Co. v. Tyco Integrated Security, LLC, 2015 WL

11251732, at *4 (S.D. Fla. Feb. 10, 2015) (collecting cases and finding that “[FDUTPA] does not

limit its protection to acts occurring exclusively in Florida”). FDUTPA only applies to conduct

that has a sufficient relationship with the state of Florida. See Eli Lilly and Co., 2015 WL

11251732, at *5 (S.D. Fla. Feb. 10, 2015) (“[T]he allegations of deception generate a sufficient

relationship with the State of Florida in order to survive the instant Motion.”). Thus, the remaining

portion of the eleventh defense is legally sufficient. It appears that there is a set of facts Defendants

can allege and, perhaps, prove (i.e., that the conduct does not have a sufficient relationship with

Florida) that could support this portion of the defense. See Adams, 2011 WL 2938467, at *1 (M.D.

Fla. 2011).




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       Accordingly, the Court will not strike the eleventh affirmative defense vis-à-vis conduct

occurring outside of Florida.

       B. Laches and Statute of Limitations

       Plaintiffs argue that the fifteenth and sixteenth affirmative defense are due to be stricken

because they are legally insufficient. Defendants concede that the fifteenth affirmative defense,

titled “Statute of Limitations,” is insufficient vis-à-vis Count I. Defendants also concede that the

sixteenth affirmative defense, titled “Laches,” is insufficient vis-à-vis Counts II and III. Those

portions are therefore due to be stricken.

       Regarding the fifteenth defense, Plaintiffs ask the Court to resolve a factual dispute over

whether Plaintiff filed within the statute of limitations; again, this is not proper at this stage. See

Muschong, 2014 WL 3341142, at *2 (M.D. Fla. 2014). Therefore, the Court will not strike the

fifteenth defense vis-à-vis Counts II and III.

       However, Plaintiffs challenge the sixteenth affirmative defense on the basis that “[t]he

affirmative defenses of unclean hands, laches, and estoppel are equitable defenses that must be

plead with particularity.” Local Access, LLC v. Peerless Network, Inc., No. 6:17-cv-236-Orl-

40TBS, 2018 WL 3067908, at *5 (M.D. Fla. May 21, 2018). To allege laches as an affirmative

defense, Defendants must allege that Plaintiffs delayed in asserting their rights, and that delay

harmed Defendants. See id. Here, Defendants only allege that “Counts I through III of the

Complaint are barred because Plaintiffs unreasonably delayed in bringing this lawsuit against

Defendants.” Doc. 11 at 17. Defendants have not asserted they were harmed by Plaintiffs’ alleged

delay. See Allstate Property and Cas. Ins. Co. v. Hanley, No. 8:14-cv-2959-T-24MAP, 2015 WL

1064789, at *2 (M.D. Fla. Mar. 11, 2015).           Thus, this defense was insufficiently alleged.

Accordingly, the Court strikes the entirety of the sixteenth affirmative defense.




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      IV.    Conclusion

      Accordingly, it is ORDERED that the Motion (Doc. 16) is GRANTED in part and

DENIED in part so that:

             (1) The second, fourth, twelfth, and sixteenth affirmative defenses are stricken in
                 their entirety;

             (2) The eleventh affirmative defense is stricken as it relates to Defendants’ conduct
                 “directed at non-Florida residents;” and

             (3) The fifteenth affirmative defense is stricken as it relates to Count I.

      ORDERED in Orlando, Florida on October 19, 2021.




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